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9                               UNITED STATES DISTRICT COURT
10                             CENTRAL DISTRICT OF CALIFORNIA
11
      UNITED STATES OF AMERICA,                     Case No. CR 17-00661(A)-DMG
12
                  Plaintiff,                        [Hon. Dolly M. Gee, District Court Judge]
13
           vs.
14                                                  JULIAN OMIDI’S MOTION TO
   JULIAN OMIDI, INDEPENDENT                        DISMISS THE SUPERSEDING
15 MEDICAL SERVICES,                                INDICTMENT FOR VIOLATION OF
                                                    THE FIFTH AMENDMENT DUE
16 INC., SURGERY CENTER                             PROCESS CLAUSE, THE SIXTH
   MANAGEMENT, LLC, and MIRALI
17 ZARRABI, M.D.,                                   AMENDMENT RIGHTS TO
                                                    CONFRONTATION AND TO A
18                Defendants.                       PUBLIC TRIAL; REQUEST FOR
                                                    OTHER APPROPRIATE RELIEF
19
                                                    [MEMORANDUM OF POINTS AND
20                                                  AUTHORITIES IN SUPPORT THEREOF
                                                    AND DECLARATIONS OF ATTORNEY
21                                                  KAMILLE R. DEAN, ATTORNEY
22                                                  GEORGE C. PAUKERT, AND JAMIE
                                                    HIDALGO]
23
                                                    REDACTED PUBLIC VERSION
24
                                                    Date:       September 12, 2018
25                                                  Time:       2:00 p.m.
                                                    Dept.:      Courtroom 8C
26                                                  Location:   350 West 1st Street, 8th Floor
                                                                Los Angeles, CA 90012
27                                                  Trial:      October 9, 2018 at 8:30 a.m.
28
             Case No. CR 17-00661(A)-DMG            I
             JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATION OF
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 1              JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING
 2             INDICTMENT FOR VIOLATION OF THE FIFTH AMENDMENT
              DUE PROCESS CLAUSE, THE SIXTH AMENDMENT RIGHTS TO
 3             CONFRONTATION AND TO A PUBLIC TRIAL; REQUEST FOR
 4                         OTHER APPROPRIATE RELIEF

 5          TO THE HONORABLE COURT, ALL DEFENDANTS, AND THEIR
 6 ATTORNEYS OF RECORD:
 7     PLEASE TAKE NOTICE that on September 12, 2018, at 2:00 p.m., or as soon as
 8 may be heard, in Courtroom 8C of the above-entitled Court located at 350 West 1st Street,
 9 Los Angeles, CA, 90012, Defendant Julian Omidi (“Defendant”), will and hereby does
10 move this Court for an Order dismissing the Superseding Indictment (dkt. 12) for violating
11 the Fifth Amendment Right to Due Process and the Sixth Amendment Right to
12 Confrontation and to a Public Trial. These significant violations took place during an in
                                                     1
13 camera and critical proceeding on July 10, 2018. Ninth Circuit law holds that the closure
14 of the hearing by itself was prejudicial:
15        The alleged closing of [Mr. Omidi’s] trial would have infected his entire trial with
          such error. Indeed, implicit in the recognition that trial closures are structural errors
16        is the recognition that such errors “affect the framework in which the trial proceeds.”
17        Arizona v. Fulminante, 499 U.S. 279, 310, 111 S.Ct. 1246, 113 L.Ed.2d 302 (1991);
          see also Campbell, 408 F.3d at 1171–1172. If [Omidi] establishes a violation of his
18        right to a public trial, that structural error would likely satisfy the prejudice showing.
19
   United States v. Withers, 638 F.3d 1055, 1065-66 (9th Cir. 2011).
20
          This Motion is based on this Notice of Motion and Motion, the accompanying
21
   Memorandum of Points and Authorities, the accompanying Declaration of Attorney
22
   Kamille R. Dean, documents and pleadings previously filed with this Court, and any and
23
   all evidence Defendants may present on any hearing on this Motion.
24
          Because the issues here are inextricably intertwined with issues as to the conflicts of
25
      1
26      Defense counsel respectfully submit this Memorandum in good faith and are ethically and
      legally obligated to raise this claim now because if they did not, they would be engaging in
27    ineffective assistance of counsel under Ninth Circuit law. United States v. Withers, 638 F.3d 1055,
28    1065 (9th Cir. 2011) (“Again assuming that his public trial claim was viable, his counsel's failure
      to raise it almost certainly prejudiced him”).
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 1 interest inquiry before the Court and affect the inquiry, this Motion should be decided
 2 before or concurrent with the Court’s inquiry as to conflicts of interest as to Mr. Omidi’s
 3 counsel.
 4                                       Respectfully submitted ,
 5     Dated: August 1, 2018             Law Offices of Kamille Dean, PLC
 6                                       Law Offices of Roger Jon Diamond

 7
 8                                       By: /s/ Kamille Dean
                                             Kamille Dean
 9                                           Roger Jon Diamond
                                         Attorneys for Defendant
10                                       JULIAN OMIDI
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 1 I.       INTRODUCTION
 2          The Court must dismiss the Superseding Indictment (dkt. 12) against Defendant
 3 Julian Omidi (“Omidi”), for violations of (1) the Fifth Amendment Right to Due Process,
 4 (2) the Sixth Amendment Right to Confrontation and to a Public Trial, and (3) Federal
 5 Rule of Criminal Procedure 43. By excluding Mr. Omidi from the July 10, 2018 hearing,
 6 (dkt. 321 (“Mr. Paukert, Mr. Greenberg, and Mr. Cantalupo are ordered to appear ONLY,”
 7 capitals in original order), Mr. Omidi was deprived his fundamental rights to be present at
 8 every critical stage, right to confront evidence against him, and right to a public trial,
 9 thereby resulting in structural error warranting dismissal of the Superseding Indictment.2
10 The exclusion order (dkt. 321) and subsequent hearing have had a profound adverse impact
11 on Mr. Omidi, his counsel, and his rights to a fair trial. While prejudice is unnecessary to
12 show where there is a structural error, the prejudice to Mr. Omidi has been extensive.
13 II.      MR. OMIDI AND THE PUBLIC WERE EXCLUDED FROM A CRITICAL
            STAGE RESULTING IN A STRUCTURAL ERROR AND PREJUDICE
14
            A.    THE COURT’S JULY 6 ORDER PERMITTED ONLY COUNSEL AND APPOINTED
15                COUNSEL FOR SCM AND IMS TO ATTEND
16          In response to Defense’s objections to the July 10 hearing, the Court stated:
17          [A]lthough the minute order that set that [the July 10] hearing was perhaps inartfully
18          worded, the hearing was at the request of corporate independent counsel in order to
            obtain clarification regarding my concerns. Because they were the ones who were
19          requesting that clarification, the intent was to say that only corporate counsel
20          needed to attend, that was not to exclude any other attorneys who were pertinent
            or parties pertinent to the conflicts inquiry if she had wished to appear. That
21          perhaps was not quite as clear as it should have been, but the upshot of it is that that
22          hearing was relatively brief. (Exh. 1, 7/18/18 RT, at 7 (emphasis added).)
23          However, the Court’s July 6 order plainly stated that appearance was limited to
24 retained counsel Mr. George Paukert, for Surgery Center Management, LLC, (“SCM”) and
25 Independent Medical Services, Inc. (“IMS”), and appointed counsel Stanley Greenburg for
26 IMS, and Dominic Cantalupo for SCM “ONLY”:
27
28
30           Case No. CR 17-00661(A)-DMG            1
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 1          (IN CHAMBERS) ORDER by Judge Dolly M. Gee as to Defendant Independent
 2          Medical Services, Inc., Surgery Center Management, LLC. The Court hereby sets a
            status conference on July 10, 2018 at 10:00 a.m. Mr. Paukert, Mr. Greenberg, and
 3          Mr. Cantalupo are ordered to appear ONLY. IT IS SO ORDERED.
 4 (Dkt. 321, 7/6/18 Order (Capitals in original).) As explained in Lang v. DirecTV, Inc.,
 5          Court orders are construed in the same manner as other written documents and
            contracts. Thus, if the language in an order is clear, then the literal meaning of the
 6
            language in the order controls. As in the law of contracts, in construing a court order,
 7          a court will give the words in an order “their ordinary and customary meaning.”
            Thus, orders, like any other written instrument, will be enforced according to their
 8
            “plain meaning” and “courts called upon to interpret orders should construe the
 9          language in the order in light of its usual, natural, and ordinary meaning.” “The use
            of the ‘plain and ordinary meaning’ standard to interpret orders assures that litigants
10
            will be treated fairly.”
11 Lang v. DirecTV, Inc., No. CV 10-1085, 2014 WL 12719431, at *3 (E.D. La. Jan. 16,
12 2014) (citing 56 Am. Jur. 2d. Motions, Rules, and Orders, § 48); see also In re Tomlin, 914
13 F.2d 258 (6th Cir. 1990) (“In construing this order, [courts] must give the words their
14 ‘usual, natural and ordinary meaning.’”) (citation omitted).
15          Here, the Court’s order expressly used the word “ONLY” in all capitalized letters
16 emphasizing that the July 10 hearing would be exclusively limited to appointed and
17 retained counsel for SCM and IMS, and no one else, because the “ordinary and customary
18 meaning”. Lang, 2014 WL 12719431, at *3, of the word “only” is “[s]olely; merely; for no
19 other purpose; at no other time; in no otherwise; alone; of or by itself; without anything
20 more; exclusive; nothing else or more.” Black's Law Dictionary 751 (6th ed. 1991); see
21 also Merriam-Webster's Collegiate Dictionary Tenth Edition (1993) (defining the word
22 “only” to mean “as a single fact or instance and nothing more or different: merely”).3 Thus,
23
24    3
        See also Fournier v. Kattar, 238 A.2d 12, 16-17 (N.H. 1968) ("The word ‘only’ means ‘only’. It
25    means to the exclusion of all else."); People ex rel. N.R., 139 P.3d 671, 683 (Colo. 2006)
      (construing a statute that dealt with the circumstances under which a district attorney could be
26    disqualified and holding that "[t]he word ‘only’ in the statute represents an unequivocal statement
27    that this list is meant to be exhaustive") (emphasis added); In re Weld's Estate, 50 N.E.2d 275,
      276 (Ohio App. 1942) (noting that the word "only" means "[n]o or nothing more or other than: for
28    no other purpose, at no other time, in no other wise, etc., than;"); Mena Films, Inc. v. Painted
      Zebra Productions, Inc., 2006 WL 2919517, *2 (N.Y.Supp. 2006) (noting that "exclusive and
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 1 by definition, the Court’s order expressly excluded Mr. Omidi, his retained counsel, (Roger
 2 Jon Diamond and Kamille Dean), Mr. Omidi’s appointed counsel, (Angel Navarro), Jamie
 3 Hidalgo, who is the officer for SCM and IMS, and the public from the July 10 hearing.
 4           Hence, no reasonable person or attorney would have interpreted the order as
 5 meaning anything other than as meaning that “Mr. Paukert, Mr. Greenberg, and Mr.
 6 Cantalupo are ordered to appear ONLY.” (Dkt. 321, 7/6/18 Order, capitals in original.)
 7           Furthermore, as explained below, at the July 10 hearing, the Court made substantive
 8 comments to Messrs. Cantalupo, Greenberg, and Paukert,
 9                                                                                                      The
10 plain meaning of the order was to exclude everyone except Messrs. Greenberg, Cantalupo,
11 and Paukert, resulting in (1) structural error, (2) significant prejudice to Mr. Omidi, and (3)
12 violations of Mr. Omidi’s Fifth and Sixth Amendment rights.
13           B.     EVEN IF THE COURT’S JULY 6 ORDER PERMITTED MR. OMIDI’S PRESENCE,
                    MR. OMIDI DID NOT WAIVE HIS RIGHT TO BE PRESENT
14
             Mr. Omidi did not waive his right to be present at a critical stage of the criminal
15
      proceedings by being absent, especially in light of the Court’s admission that the order
16
      “was perhaps inartfully worded” and “was not quite as clear as it should have been,” (Exh.
17
      1, 7/18/18 RT, at 7.) The Court should have halted proceeding when Mr. Omidi did not
18
      appear, and required Mr. Omidi and Mr. Hidalgo to be present. However, that did not
19
      happen. As explained in United States v. Yannai,
20
             A waiver is ordinarily an intentional relinquishment or abandonment of a known
21
             right or privilege. The determination of whether there has been an intelligent waiver
22           ... must depend, in each case, upon the particular facts and circumstances
             surrounding that case.... the district court ordinarily must conduct an inquiry on the
23
             record to determine whether the defendant has a sound excuse for his absence, or
24
25 mandatory forum selection clauses must have language (e.g., the word ‘only’) that ‘mandates that
      the designated courts are the only ones which have jurisdiction’”); Akin v. Missouri Gaming
26 Com'n, 956 S.W.2d 261, 263 (Mo. 1997) ("The word ‘only’ means ‘exclusively, solely.’ "); In re
27 Weld's Estate, 71 Ohio App. 497, 499, 50 N.E.2d 275, 276 (1942) ("The word ‘only’ is defined in
      Webster's New International Dictionary, Second Edition, as follows: ‘1. No or nothing more or
28    other than; for no other purpose, at no other time, in no other wise, etc., than; exclusively; solely;
      merely; as, only this remained’").
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 1          whether instead the defendant's absence ... was, in fact, knowing and voluntary. The
 2          defendant's absence on the date in question must be appraised in the revealing light
            of what went on before and after that date.
 3
      United States v. Yannai, 791 F.3d 226, 240 (2d Cir. 2015) (citation and quotations omitted).
 4
            Here, as the Court admits, the order “was perhaps inartfully worded” and “was not
 5
      quite as clear as it should have been,” (Exh. 1, 7/18/18 RT, at 7), and, as such, Mr. Omidi’s
 6
      counsel did not object to the order, because counsel reasonably assumed that Mr. Omidi
 7
      and counsel were excluded. (Dkt. 321 (“Mr. Paukert, Mr. Greenberg, and Mr. Cantalupo
 8
      are ordered to appear ONLY,” capitals in original order).) Also, Mr. Omidi’s counsel
 9
      reasonably believed the July 10 hearing would be a status conference, and nothing else, in
10
      “light of what went on before,” the Court issued its order—namely, the Court had just
11
      ruled on the government’s ex parte application for clarification and reconsideration of the
12
      use of federal funds for appointed counsel (dkt. 318). It was only after receiving a
13
      transcript of the July 10 hearing when Mr. Omidi’s counsel discovered the July 10 hearing
14
      was a hearing in which the Court extensively discussed conflicts regarding Mr. Omidi’s
15
      current counsel. Accordingly, Mr. Omidi has not waived his right to be present at a critical
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      stage of the criminal proceedings by absenting himself.
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30           Case No. CR 17-00661(A)-DMG           10
             JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATION OF
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30           Case No. CR 17-00661(A)-DMG           11
             JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATION OF
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30           Case No. CR 17-00661(A)-DMG           12
             JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATION OF
31              THE FIFTH AMENDMENT DUE PROCESS CLAUSE, THE SIXTH AMENDMENT RIGHTS TO
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30           Case No. CR 17-00661(A)-DMG           13
             JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATION OF
31              THE FIFTH AMENDMENT DUE PROCESS CLAUSE, THE SIXTH AMENDMENT RIGHTS TO
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30           Case No. CR 17-00661(A)-DMG           14
             JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATION OF
31              THE FIFTH AMENDMENT DUE PROCESS CLAUSE, THE SIXTH AMENDMENT RIGHTS TO
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30           Case No. CR 17-00661(A)-DMG           15
             JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATION OF
31              THE FIFTH AMENDMENT DUE PROCESS CLAUSE, THE SIXTH AMENDMENT RIGHTS TO
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30           Case No. CR 17-00661(A)-DMG           16
             JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATION OF
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             JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATION OF
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30           Case No. CR 17-00661(A)-DMG           18
             JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATION OF
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30           Case No. CR 17-00661(A)-DMG           19
             JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATION OF
31              THE FIFTH AMENDMENT DUE PROCESS CLAUSE, THE SIXTH AMENDMENT RIGHTS TO
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             JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATION OF
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 1 III.     RIGHT TO A PUBLIC TRIAL
 2          The Sixth Amendment provides, in relevant part, that “[i]n all criminal prosecutions,
 3          the accused shall enjoy the right to a speedy and public trial.” The Sixth Amendment
            right to a public trial extends beyond the actual proof presented at a trial.
 4
      United States v. Cazares, 788 F.3d 956, 968 (9th Cir. 2015) (citing Waller v. Georgia, 467
 5
      U.S. 39, 44–47 (1984)). “[V]iolation of the public trial right is a structural error.” United
 6
      States v. Withers, 638 F.3d 1055, 1065 (9th Cir. 2011) (citing Waller, 467 U.S. at 49-50 and
 7
      Campbell v. Rice, 408 F.3d 1166, 1171–1172 (9th Cir. 2005) (violation of right to public
 8
      trial is constitutional error requiring automatic reversal because of structural defect)). “The
 9
      public trial guarantee was, after all, ‘created for the benefit of the defendant,’ and ‘[t]here
10
      could be no explanation for barring the accused from raising a constitutional right that is
11
      unmistakably for his or her benefit.’” United States v. Rivera, 682 F.3d 1223, 1229 (9th Cir.
12
      2012) (quoting Presley v. Georgia, 558 U.S. 209, 213 (2010)).
13
                                                                                           See Press-
14
      Enterprise Co. v. Superior Court of California (Press-Enterprise II), 478 U.S. 1, 13-14
15
      (1986) (“proceedings cannot be closed unless specific, on the record findings are made”
16
      showing closure essential and narrowly tailored). Further, the Court failed to consider less
17
      restrictive alternatives. Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 580-81
18
      (1980); Press-Enterprise II, 478 U.S. at 13-14. Nor did the Court make any findings on the
19
      record about closure, which was a constitutional error. Waller, 467 U.S. at 45, 48 (findings
20
      must be sufficient to support closure); Press-Enterprise I, 464 U.S. 501, 510 (1984)
21
      (findings must be sufficiently specific for appellate review); Richmond Newspapers, 448
22
      U.S. at 581 (“Absent an overriding interest articulated in findings, the trial of a criminal
23
      case must be open to the public”).
24
            “A district court violates a defendant's right to a public trial when it totally closes the
25
      courtroom to the public, for a non-trivial duration, without first complying with the four
26
      requirements established by the Supreme Court's Press–Enterprise and Waller decisions.”
27
      Withers, 638 F.3d at 1063.
28
30            Case No. CR 17-00661(A)-DMG           21
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 5                                                                  dismissal is necessary
 6 because a structural error has occurred. The violation of the right to a public trial occurred
 7 at a critical stage with concomitant significant prejudice to Mr. Omidi requiring dismissal.
 8 IV.      RIGHT TO BE PRESENT AT ALL CRITICAL STAGES
 9          A.    THE ORDER VIOLATED MR. OMIDI’S RIGHT TO BE PRESENT ON JULY 10
10          A criminal defendant has a federal constitutional right, under the Confrontation
11 Clause of the Sixth Amendment and the Due Process Clauses of the Fifth Amendment, “to
12 be present at all stages of the trial where his absence might frustrate the fairness of the
13 proceedings.” Faretta v. California, 422 U.S. 806, 819-20 n.15 (1975); Hovey v. Ayers,
14 458 F.3d 892, 901 (9th Cir. 2006) (“A critical stage is a ‘stage of a criminal proceeding
15 where substantial rights of a criminal accused may be affected.’”) (citation omitted). A
16 fortiori, any hearing that threatens a defendant's Sixth Amendment right to representation
17 by retained counsel—such as the July 10 hearing in which Mr. Omidi and his counsel were
18 excluded (dkt. 321)—is a “critical stage” of the criminal proceeding, requiring the
19 defendant's presence. Kentucky v. Stincer, 482 U.S. 730, 735, 745 (1987) (right to presence
20 if it would “contribute to the fairness of the procedure”); United States v. Gagnon, 470
21 U.S. 522, 526 (1985) (right to presence if fair and just hearing would be thwarted by
22 defendant's absence); United States v. Rosales-Rodriguez, 289 F.3d 1106, 1109 (9th Cir.
23 2002) (“A defendant has the right to be present at every stage of the trial,” and that right is
24 “both constitutional and statutory.”), cert. denied, 537 U.S. 1061 (2002); Fed.R.Crim.P.
25 43(a). Fed.R.Crim.P. 43 provides broader protection of this right to presence than does the
26 constitution. See United States v. Brown, 571 F.2d 980, 986 (6th Cir. 1978).
27          United States v. Hamilton, 391 F.3d 1066 (9th Cir. 2004) illustrates that the
28 exclusion of Mr. Omidi and his counsel from the July 10 hearing was a structural error.
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 1 There, Hamilton and his counsel, without waiver and through no fault of their own, were
 2 absent from the second of two hearings on a motion to suppress; the motion was denied,
 3 and the defendant thereafter convicted. On appeal, for the first time, Hamilton argued that
 4 the hearing had been conducted in violation of his Sixth Amendment rights. The Ninth
 5 Circuit reversed, noting that the defendant’s right to be present with counsel extends to all
 6 critical stages of the proceedings. Id., at 1070, citing United States v. Wade. 388 U.S. 218,
 7 224 (1967). The Hamilton court made clear that where counsel and the defendant are
 8 excluded from a critical stage, the defendant need not prove the error was prejudicial:
 9          Where counsel is absent during a critical stage, the defendant need not show
10          prejudice. Rather, prejudice is presumed, “because the adversary process itself has
            become presumptively unreliable.” Roe v. Flores–Ortega, 528 U.S. 470, 483, 120
11          S.Ct. 1029, 145 L.Ed.2d 985 (2000) (quoting Cronic, 466 U.S. at 659, 104 S.Ct.
12          2039) (quotation marks omitted).
            Nor does harmless error analysis apply. Unlike ordinary trial errors, “structural
13
            defects in the constitution of the trial mechanism ... defy analysis by harmless-error
14          standards.” Arizona v. Fulminante, 499 U.S. 279, 309, 111 S.Ct. 1246, 113 L.Ed.2d
            302 (1991) (internal quotation marks omitted). The Supreme Court has recognized
15
            that the Sixth Amendment right to counsel is among those “constitutional rights so
16          basic to a fair trial that their infraction can never be treated as harmless error,”
            Chapman v. California, 386 U.S. 18, 23 & n. 5, 87 S.Ct. 824, 17 L.Ed.2d 705
17
            (1967). As previously observed, the Sixth Amendment guarantee applies to all
18          “critical” stages of the proceedings. Wade, 388 U.S. at 224, 87 S.Ct. 1926. Thus the
            absence of counsel during a critical stage of a criminal proceeding is precisely the
19
            type of “structural defect” to which no harmless-error analysis can be applied.
20          Moreover, “[w]hen no counsel is provided, or counsel is prevented from discharging
            his normal functions”—including the elementary function of being present
21
            throughout a critical stage of a prosecution—“the evil lies in what the attorney does
22          not do, and is either not readily apparent on the record, or occurs at a time when no
23          record is made. Thus an inquiry into a claim of harmless error here would require,
            unlike most cases, unguided speculation.” Cooper v. Fitzharris, 586 F.2d 1325, 1332
24          (9th Cir.1978) (en banc) (quoting Holloway v. Arkansas, 435 U.S. 475, 491, 98 S.Ct.
25          1173, 55 L.Ed.2d 426 (1978)) (internal quotation marks omitted).
            It follows from these principles that the hearing on Hamilton's motion to suppress (at
26
            least the portions of the consolidated proceedings in which evidence relating to
27          Hamilton's case was heard) was a critical stage of his prosecution. Therefore, when
            the government attorney questioned the searching officer on redirect about
28
            Hamilton's case, his Sixth Amendment rights were implicated. The absence of
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 1          Hamilton's attorney from the hearing on Hamilton's suppression motion constituted a
 2          denial of counsel at a critical stage of the proceeding. Absent an intelligent waiver
            by Hamilton of his right to counsel, the proceedings were tainted by a “structural
 3          defect” and harmless error analysis is therefore inapplicable.
 4 United States v. Hamilton, 391 F.3d 1066, 1070-71 (9th Cir. 2004); see also Hegler v.
 5 Borg, 50 F.3d 1472, 1476 (9th Cir. 1995) (“a defendant's absence from certain stages of a
 6 criminal proceeding may so undermine the integrity of the trial process that the error will
 7 necessarily fall within that category of cases requiring automatic reversal”); Rice v. Wood,
 8 77 F.3d 1138, 1141 (9th Cir. 1996) (en banc) (structural error occurs where defendant was
 9 excluded from criminal proceedings at which he had an “active role to play”).
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30           Case No. CR 17-00661(A)-DMG           24
             JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATION OF
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 4                                                 . Hamilton, 391 F.3d at 1070 (“[T]he absence
 5 of counsel during a critical stage of a criminal proceeding is precisely the type of
 6 ‘structural defect’ to which no harmless-error analysis can be applied.”) (citation omitted).
 7 V.       CONCLUSION
 8          Given the foregoing, the Court should issue an order dismissing the Superseding
 9 Indictment against Mr. Omidi. The July 10, 2018, hearing was a critical stage of the
10 proceedings where Mr. Omidi and his counsel were excluded without justification. The
11 Court discussed substantive matters which have irreparably affected and prejudiced the
12 proceedings.
13                                                                       compromised Mr.
14 Omidi’s right to counsel, his right to due process, right to be present at every critical stage,
15 and right to confrontation of evidence against him.
16          The Court should issue an order dismissing the Superseding Indictment against Mr.
17 Omidi. Given that the proceedings are still in the early stages, no substantial motions have
18 been heard, and trial is far away, a dismissal now would best serve the interests of justice
19 so that constitutional errors resulting from the July 10, hearing do not infect the future
20 proceedings and trial. Should the Court deny this Motion, the Defense respectfully requests
21 the certification of the issues presented for immediate appeal.
22          Respectfully submitted ,
23     Dated: August 1, 2018               Law Offices of Kamille Dean, PLC
24                                         Law Offices of Roger Jon Diamond

25
                                           By: /s/ Kamille Dean
26                                             Kamille Dean
27                                             Roger Jon Diamond
                                           Attorneys for Defendant
28                                         JULIAN OMIDI
30           Case No. CR 17-00661(A)-DMG           25
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 1                   DECLARATION OF ATTORNEY KAMILLE R. DEAN
 2
 3 I, Kamille R. Dean, declare and say:
 4          (1)   I am an attorney at law duly authorized to practice law in the U.S. Central
 5 District Court in the State of California. I am an attorney at law and counsel of record for
 6 Defendant, Julian Omidi, (“Omidi”), in this matter stylized as United States v. Julian
 7 Omidi, et al., Case No. CR 17-00661(A)-DMG. I have personal knowledge of the facts set
 8 forth in this declaration and could and would competently testify thereto if called as a
 9 witness in this action.
10          (2)   Exhibit 1 is true and correct copy of the July 18, 2018 Hearing transcript.
11          (3)   Exhibit 2 is true and correct copy of the July 10, 2018 Hearing transcript.
12          (4)   Exhibit 3 is true and correct copy of the June 13, 2018 Hearing transcript.
13          (5)   Exhibit 4 is a true and correct copy of the George Paukert July 30, 2018
14 Declaration.
15          (6)   Exhibit 5 is a true and correct copy of the Jamie Hidalgo August 1, 2018
16 Declaration.
17          (7)   Mr. Omidi has not and did not waive his right to be present at any stage of
18 the criminal proceedings, including the July 10, 2018 hearing in this matter which was a
19 critical stage of the criminal proceeding.
20          (8)   I did not attend the Court’s July 6, 2018 hearing because the Court’s use of
21 the words “ONLY” in capital letters in the Order clearly stated that Mr. Omidi and I were
22 excluded, and I did not want to disrespect the Court’s orders or have the Court to hold me
23 in contempt for violating that prohibition on appearance. (Dkt. 321 (“Mr. Paukert, Mr.
24 Greenberg, and Mr. Cantalupo are ordered to appear ONLY,” capitals in original order).)
25          (9)   I believed the July 10 hearing would be a status conference, and nothing else,
26 based on the Court’s order for a status conference (dkt. 321).
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              JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATION OF
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30          Case No. CR 17-00661(A)-DMG             28
              JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATION OF
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 1          I declare under penalty of perjury, under the laws of the State of California, that the
 2 foregoing is true and correct and that this declaration was executed on August 1, 2018 at
 3 Los Angeles, California.
 4                                                        /s/Kamille R. Dean
 5                                                        Kamille R. Dean
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30          Case No. CR 17-00661(A)-DMG             29
              JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT FOR VIOLATION OF
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 1
 2                                  CERTIFICATE OF SERVICE

 3          I hereby certify that, on August 1, 2018, I electronically filed the following

 4 document(s) with the Clerk of the Court for the United States District Court for the
 5 Central District of California, by using the district court’s CM/ECF system:
 6          JULIAN OMIDI’S MOTION TO DISMISS THE SUPERSEDING INDICTMENT
            FOR VIOLATING THE FIFTH AMENDMENT DUE PROCESS CLAUSE AND
 7          THE SIXTH AMENDMENT RIGHT TO CONFRONTATION CLAUSE;
 8          REQUEST FOR OTHER APPROPRIATE RELIEF

 9          I further certify that all participants in the case are registered CM/ECF users and

10 that service will be accomplished by the district court’s CM/ECF system.
11
12                                           s/ Kamille Dean

13                                           Kamille R. Dean, Esq.
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30          Case No. CR 17-00661(A)-DMG             30
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